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                  UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS

Margaret M. Robertie                                                       Tel: 618.482.9371
      Clerk of Court                                                       Fax: 618.482.9383
                                OFFICE OF THE CLERK
                                750 MISSOURI AVENUE
                             EAST ST. LOUIS, ILLINOIS 62201



           NOTICE OF THE FILING OF A NOTICE OF APPEAL

Re:     Marion HealthCare, LLC et al v. Becton Dickinson & Company et al
        3:18-cv-1059-NJR-RJD

        A Notice of Appeal has been filed in the above-captioned case.

       You should consult the Federal Rules of Appellate Procedure and the Circuit
Rules of the United States Court of Appeals for the Seventh Circuit concerning the
record on appeal, the appeal fee, the docketing statement, and other procedural
requirements for perfecting the appeal.

        Circuit Rule 10(a) provides that the entire record (except for certain pleadings
listed in the rule) be forwarded to the Court of Appeals. If any of the automatically
excluded items need to be included in the record, the appellant has 14 days from the
filing of the notice of appeal to inform the district court clerk by specifying which items
are required and the date on which they were filed. Please respond by e-filing or by
mail (if pro se) to the office location listed above.

      Counsel must ensure that exhibits to be included in the record which are not in
the possession of the district court are furnished to the clerk of the district court within
14 days after the notice of appeal is filed.

       Federal Rule of Appellate Procedure 10(b) requires that within 14 days of the
filing of the notice of appeal, the appellant must order from the court reporter a
transcript of the parts of the proceedings not already on file which are necessary for the
record. If the appellant orders less than the entire transcript, the appellant must file and
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serve on the appellee a description of the parts ordered. When this is done, the appellee
has 14 days after service within which to order any additional parts of the transcript. A
blank “Seventh Circuit Transcript Information Sheet” is attached. This form should be
electronically filed in the district court case when ordering transcripts or certifying that
none will be ordered.

Very truly yours,


s/ Catina Simpson
Deputy Clerk
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                                SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET

PART I – Must be completed by part or party’s attorney pursuant to Rule 10(b) of the Federal Rules of Appellate
Procedure and Rule 11 (a) of the Circuit Rules. The appellant must file this form with the court reporter within 14
days of filing the notice of appeal, whether transcript is being ordered or not. (FRAP 10(b)). “Satisfactory
arrangements with the court reporter for payment of the cost of the transcripts” must be made at the time (FRAP
10(b)(4)) (Note: Appellees as well as appellants are expected us use this form when ordering transcripts.)

Short Title                               District                              D.C. Docket No.

                                          District Judge                        Court Reporter



☐ I am ordering transcript                                         Sign below and return original and one copy to court reporter.
☐ I am not ordering transcript because:                            Distribute remaining copies to Clerk of the District Court and
                                                                   opposing party, retaining one copy for yourself.

☐ The transcript has been prepared.

Indicate proceeding for which transcript if required. Dates must be provided:                                                           Date(s)
☐ VoirDire
☐ Pre-trial proceedings.     Specify:
Trial or hearing.            Specify:


☐   Opening Statement
☐   Instruction conference
☐   Closing statement
☐   Court instructions
☐   Post-trial proceedings               Specify:
☐   Sentencing
☐   Other Proceedings                    Specify:
Method of Payment           ☐ Cash                                              ☐ Check or Money Order    ☐ C.J.A. Voucher
Status of Payment:          ☐ Full Payment                                      ☐ Partial Payment         ☐ No Payment Yet
Signature: ____________________________________                                    Telephone No. ________________________________
Address: ____________________________________
           ____________________________________

Part II – Must be completed by Court Reporter pursuant to Rule 11(b) of the Federal Rules of Appellate
Procedure. By signing this Part II, the Court Reporter certifies that satisfactory arrangements for payment have
been made.

USCA –Docket No.                        Date Order Received                     Estimated Completion Date               Estimated Length




Signature of Court Reporter: ______________________________                                    Date:______________________________

Notice: The Judicial conference of the United States, by its resolution of March 11, 1982, has provided that a penalty of 10 percent must apply, unless a
waiver is granted by the Court of Appeals’ Clerk, when a “transcript of a case on appeal is not delivered within 30 days of the date ordered and payment
received therefor.” The penalty is 20 percent for transcript not delivered within 60 days.

Copies to: USCA–Clerk, District Court – Clerk, Party/Counsel Ordering Transcript
